                 Case: 1:21-cv-04730 Document #: 6 Filed: 09/16/21 Page 1 of 2 PageID #:29


AO 440 (Rev. 05/00) Summons in aCivil Action



                                       United States District Court
                                                      Northern district of Illinois




                                                                                            SUMMONS IN ACIVIL CASE

CANTRELL STREETER


                                                                             Case Number:                  2 1 - C V- 0 4 7 3 0

                                V .                                          ASSIGNED Judge:
                                                                                                           H o n . R o b e r t W. G e t t l e m a n
 H E A LT H C A R E R E V E N U E R E C O V E R Y G R O U P, L L C
                                                                             D E S I G N AT E D
 d^/a ARS ACCOUNT RESOLUTION SERVICES and
 EQUIFAX INFORMATION SERVICES. LLC                                           Magistrate JUDGE: Hon. Heather K. MeShain



                     TO:(NameandaddresserDefendant)

        Healthcare Revenue Recovery Group, LLC d/b/a ARS Account Resolution Services
        c/o Illinois Corporation Service
        801 Adlai Stevenson Dr.
        Springfield. IL 62703


          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

                   Celetha Chatman
                   Community Lawyers, LLC.
                   980 N. Michigan Avenue, Suite 1400
                   Chicago, IL 60611



                                                                                                      21
an answer to the complaint which is herewith served upon you,                                                           days after service of this
s u m m o n s
                upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within areasonable
period of time after service.




      THOMAS G. BRUTON, CLERK
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                                                                                                              September 9, 2021
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      (By) DEPUTY CLERK                                                        ^ ^ 4                          D AT E
Case: 1:21-cv-04730 Document #: 6 Filed: 09/16/21 Page 2 of 2 PageID #:30




ClientCaselO:                                      64133                          CaseReturnDate:      9 / 1 4 / 2 1



                                                                                          A f fi d a v i t o f A P R I V A T E I N V E S T I G A T O R




        UNITED STATES DISTRICT COURT, NORTHERN DISTRICT OF ILLINOIS

                                                                                               Case Number21.CV^730
I, JOHN PENNELL

FIRST DULY SWORN ON OATH STATES THAT IAM OVER 18 YEARS OF AGE AND NOT APARTY TO THIS SUIT AND
LICENSED AS APRIVATE DETECTIVE (LICENSE #115.002074) UNDER THE PRIVATE DETECTIVE ACT OF 2004.




                                                      C O R P O R AT E S E RV I C E


T H AT I S E R V E D T H E W I T H I N S U M M O N S & C O M P L A I N T

O N T H E W I T H I N N A M E D D E F E N D A N T H E A LT H C A R E R E V E N U E R E C O V E R Y G R O U P, L L C .
PERSON SERVED ETHAN SMITH

BY LEAVING ACOPY OF EACH WITH THE SAID DEFENDANT ON 9/15/21




That the sex, race and approximate age of the whom Ileft the SUMMONS &COMPLAINT
are as follow;


Sex     MALE          Race   WHITE               Age 19                Height 6’2'                   Build      230#                  Hair         BRN



L O C AT I O N   OF   SERVICE
                                 801 ADLAI STEVENSON DR.
                                 SPRINGFIELD, IL, 62703


DateOfServioe 9/15/21                                Time of Service 12:20PM


                                                                                                    JOHN^N ' l & i L           V9/15/2021

                                                                                                    APRl'           ■Westigator
                                                                                                    P R I VAT E D E C T E C T I V E # 11 5 . 0 0 2 0 7 4

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Under penalties of perjury as provided by law pursuant to Section 1-109 of the Code of Civil Procedure, t u n d e r s i
certifies that the statement are true and correct, except as to matters therein staled to be on information ^nd'ttelief an ^ c h
matters the undersigned certifies as aforesaid that he/she verily believes same to be true.
